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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 KIMBERLY MANSON, individually and on               Civil Action No.:
 behalf of all others similarly situated,
                                                    CLASS ACTION COMPLAINT
                                Plaintiff,
                                                    JURY TRIAL DEMANDED
        v.

 ALYK, INC.,

                                Defendant.


       Plaintiff Kimberly Manson (“Plaintiff”) brings this action on behalf of herself and all

others similarly situated against Defendant ALYK, Inc. (“ALYK” or “Defendant”) for the

manufacture and sale of the LOLA Tampon products identified below. Plaintiff makes the

following allegations pursuant to the investigation of her counsel and based upon information

and belief, except as to the allegations specifically pertaining to herself, which are based on

personal knowledge.

                                  NATURE OF THE ACTION

       1.       This is a class action against Defendant ALYK, Inc. (“Defendant”) for the

manufacture and sale of LOLA Tampons (the “Products” or “LOLA Tampons”). The Products

are defective because they unravel and/or come apart upon removal from the body (the

“Defect”), and in some cases, cause users to seek medical attention to remove tampon pieces left

in the body. Additionally, the Defect can cause infections, vaginal irritation, localized vaginal

injury, and other symptoms. The Defect renders the Products unsuitable for their principal and

intended purpose and therefore renders the Products worthless.
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        2.       The Products are sold in three varieties: LOLA Compact Applicator Tampons,

Cardboard Applicator Tampons, and Non-Applicator Tampons. The sole difference between

each of these varieties concerns the applicator provided and not the tampon itself. Each of the

three varieties is offered for sale with a range of absorbencies.1 The differences between the

various absorbency ratings concerns the density of the cotton in the tampon. All Products sold

by Defendant are made from 100% organic cotton.

        3.       The defect manifests itself equally across each Product because all of the Products

contain the same 100% organic cotton that unravels and/or comes apart in the body upon

removal. The Products also uniformly lack a protective coating used in other brands of tampons

that prevents them from shedding and/or coming apart inside of consumers.

        4.       As cited at length below, complaints from class members about the Products

leaving behind tampon pieces inside of them are widespread. Class members report having to

reach inside their bodies to retrieve wads of cotton left by the Products, and several discuss

anxiety from the fear that there is more cotton left over, undetected. Class members have been

forced to make visits to physicians for help in removing the all of the Product, and several report

getting sick as a result of undetected Product remaining inside them.

        5.       The Defect is a nuisance that no reasonable consumer would expect to incur when

using a tampon. Moreover, it is an unacceptable safety hazard requiring a prompt recall, just as

one of Defendant’s competitors did when users reported the same issues with their tampons.

        6.       Defendant is well-aware of the issue. Consumers have complained about it

repeatedly to Defendant itself, and Defendant has reviewed and responded to many similar



1
 The Compact Applicator Tampons come in light, regular, super, and super+ absorbencies. The Cardboard
Applicator Tampons come in regular and super absorbencies. The Non-Applicator Tampons come in regular, super,
and super+ absorbencies.


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complaints on third-party internet review websites. But Defendant refuses to do anything to

remediate or address the issue.

       7.       Plaintiff brings claims against Defendant individually and on behalf of a class of

all other similarly situated purchasers of the Products for violation of New York General

Business Law (“GBL”) §§ 349 & 350, breach of express warranty, breach of the

Magnuson-Moss Warranty Act, fraud, unjust enrichment, and negligent misrepresentation.

                                          THE PARTIES

       8.       Plaintiff Kimberly Manson is, and at all times relevant to this action has been, a

resident of Chester, New York. In February of 2021, Ms. Manson purchased LOLA Compact

Applicator Tampons for approximately $12 from a Walmart store located in Monroe, New York.

In approximately the Spring of 2021, when attempting to remove one of the Products from her

person after use, the Product unraveled and disintegrated, leaving behind portions of the Product

inside of Ms. Manson. Prior to purchasing the Product, Ms. Manson read the Product’s

packaging, including the representation that it was “Gynecologist-approved.” She understood

this language to mean that the Product was safe to use. Due to the Defect, Ms. Manson

experienced burning sensations and localized discomfort. If Defendant had disclosed the Defect

on the Product’s packaging, Ms. Manson would have seen that and been aware of the Defect, and

would not have purchased the Product based on that disclosure. Thus, she purchased the Product

based on Defendant’s representation that the Product was “Gynecologist-Approved” and the

nondisclosure of the Defect. After experiencing the Defect, Ms. Manson stopped using the

Products.

       9.       Defendant ALYK, Inc. is a Delaware corporation with its principal place of

business in New York, New York. Defendant markets, distributes, and sells the Product

throughout the United States.

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                                 JURISDICTION AND VENUE

       10.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)

because there are more than 100 class members and the aggregate amount in controversy exceeds

$5,000,000.00, exclusive of interest, fees, and costs, and at least one class member is a citizen of

a state different from Defendant.

       11.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendant is headquartered in this District.

                           COMMON FACTUAL ALLEGATIONS

       I.       The Products

       12.      On each of the Products’ packaging, Defendant represents that the Products are

“Gynecologist-approved and hypoallergenic”:




       13.      Defendant also boasts that the Products are “Gynecologist-approved” on each of

the Products’ webpages. This representation misleads consumers into believing the Products are

safe when, in fact, they are not safe due to the Products’ Defect.




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           14.      Moreover, by displaying the Products and describing their features, the product

packaging implies that the Products are suitable for use as tampons, without disclosing that they

have a critical Defect.

           15.      Each of the Products suffers from the same Defect, which each of the Products

fails to disclose. And all of the Products represent they are “Gynecologist-approved.”

           II.      The Products Are Defective

           16.      Defendant ALYK, Inc. is a United States personal care corporation. Defendant’s

brand-name products include LOLA feminine hygiene products, which it manufactures, markets,

and sells to consumers throughout New York and the entire United States. Throughout its

website, Defendant boasts that “We strive for full transparency in all we do. From our ingredient

lists to our candid conversations about periods and sex, we always tell it like it is,” and “We

believe reproductive care should be safe and accessible for everyone. We’re dedicated to

making that a reality.”2

           17.      Unfortunately for many consumers, LOLA Tampons are not “safe… for

everyone.” Indeed, the Products are defective because they are prone to unraveling and/or

coming apart upon removal, and in some cases, cause users to seek medical attention to remove

tampon pieces left in the body. Additionally, the Defect can cause infections, vaginal irritation,

localized vaginal injury, and other symptoms. The Defect renders the Products unsuitable for

their principal and intended purpose.




2
    https://mylola.com/


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               A.     Defendant’s Own Website Is Flooded With Class Member Complaints
                      About The Defect

       18.     Defendant knows about the Defect through dozens of reviews posted on its own

website. Indeed, numerous consumers posted product reviews about the Product’s defective

nature on LOLA’s website, www.mylola.com, which Defendant actively monitors.

       19.     For example, in 2019, a consumer explained her issue with LOLA tampons:

“Every time I took one out the cotton would fall apart leaving some inside me… it’s dangerous

and unhealthy for the tampon to be falling apart and leaving cotton inside of me.”




       20.     Another consumer posted a review that she “had a tampon break apart inside me

when trying to remove it… As a result, I had to go to my OBGYN for removal of fibers and

pieces left behind… I am throwing away the rest of the product that I have, as they are unsafe to

use, which is a huge waste of money for me.”




       21.     A different consumer reported that “COTTON SHEDS INSIDE YOU… I have

been experiencing cotton pulling off of the tampon during removal.”




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       22.     Yet another consumer reported that the tampon “Rips apart inside of you… there

was cotton stuck in me. Worst tampon experience I’ve ever had.”




       23.     Again, another consumer complained that the Products “rip inside you… They

really need to focus on the quality of the tampon.”




       24.     Another buyer complained that the “tampons started to kind of fall apart” as the

consumer was removing it. She stated, “it’s making me a little nervous to continue using them if

they are shedding inside me.”




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       25.     Again, an additional consumer stated the Products “do fall apart… They are

messy, meaning they leave too much cotton fibers. I am TERRIFIED of it getting stuck.”




       26.     A consumer reflected on her experience with the Defect, “On one occasion… the

cotton of a tampon came apart inside me – I was pulling out bits of cotton for a couple of days!”:




       27.     Yet another consumer complained that the “Tampons do not hold well and fall

apart.” This consumer gave the Products to her sister who “complained of same exact issues.”:




               B.      Defendant Reviews And Monitors The Countless Complaints On The
                       Internet About The Defect, But Does Nothing To Fix The Problem

       28.     On June 3, 2019, a consumer shared her fear of Toxic Shock Syndrome when she

“noticed that pieces of the tampons were repeatedly falling apart and becoming stuck inside of

me. I would have to do a thorough check every time I changed my tampon… Marketing an item

as ‘safer’ (strictly based on a natural or organic label), when the item carries a higher risk for left




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behind material that could lead to an infection, is extremely misleading.” Defendant responded

to this complaint.




       29.     On August 19, 2019, another consumer shared concerns regarding Toxic Shock

syndrome because “Cotton tampon easily falls apart leaving fibers in vagina.” Defendant again

responded to this complaint.


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       30.    An additional consumer complained that “two of the three tampons I have tried so

far broke inside me and left fibers behind.” Defendant responded, stating “we take product

complaints incredibly seriously,” and again directed the consumer to customer service.




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       31.     On November 20, 2019, yet another consumer reported her dissatisfaction,

explaining “I used my first tampon yesterday upon removing it, it started to tear…leaving

particles behind.” Defendant replied to the post and directed the consumer to customer service.




       32.     On December 4, 2019, a consumer who had complained of “a terrible experience

as one of the tampons literally broke in half inside of me,” shared her account of Defendant’s

awareness of the defect. Defendant “responded to me, refunded the purchase, and asked many

questions about my experience… I appreciate the follow up and refund, though do still want

people to use caution when purchasing and wearing.”




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       33.    On December 29, 2019, a consumer reported that “I had to visit my OBGYN

yesterday to have pieces of the tampon removed when it broke apart inside of me, it was like

pulling cotton balls out of my vagina.” Defendant responded to this complaint.




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       34.     Another consumer complained that “a tampon was ripped inside of me and

causing me to go to emergency OBGYN,” and Defendant responded, directing her to customer

service.




       35.     On January 17, 2020, an additional consumer complained that “The tampon

literally ripped inside of me leaving tons of cotton inside me. Now I have to make an emergency

doctors visit.” Here too, Defendant responded to this complaint.




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        36.    Another consumer similarly complained that “The tampons shed threads of

cotton… This needs to be looked into and addressed!” Defendant responded to this complaint as

well.




        37.    On June 11, 2020, another consumer complained that “The tampon shreds very

easily, leaving bits of cotton behind as I removed one. Definitely fearful that there’s some left

that I wasn’t able to remove.” Defendant responded to this complaint as well.




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       38.     In July of last year, a consumer posted a review that “when I pulled it out to

change, I almost had a heart attack half of the cotton had ripped into a couple pieces and was

stuck up there I had to reach in there to try to pull it out.” Defendant responded to this complaint

as well.




       39.     On August 7, 2020, another consumer complained that “the tampons have been

coming apart when I pull them out, leaving cotton strands behind inside me. This is the sort of

thing that other tampon companies would do recalls over. But not Lola for some reason… Last

time it happened I didn’t realize the tampons left behind anything at all until I got sick and found

the wad of cotton inside me.” Defendant responded to this complaint as well.




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       40.     On August 8, 2020, a consumer reported that “I noticed after inserting my second

tampon that there were pieces of the cotton pulled off and left over on the applicator!... TOXIC

SHOCK SYNDROME ANYONE????!” Defendant responded to this complaint as well.




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       41.     On August 19, 2020, another consumer complained that “last night I am changing

my tampon before bed and I go to pull the old one out and it completely came apart inside me.

So I spent the next hour digging around trying to make sure I got it all out and now I am freaked

out that some is still inside of me and I am going to get sick.” Defendant responded to this

complaint as well.




       42.     On September 23, 2020, a consumer reported that “I stopped my subscription

after having pieces of tampon left inside of me after removing tampon. I made the company

aware of the issue and received zero response.” Defendant responded to this complaint as well.




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       43.    Also in September of last year, a consumer complained that “they unravel while

in use and this is beyond concerning for feminine health. On several occasions part of the

tampon is left behind during extraction.” Defendant responded to this complaint as well.




       44.    On November 5, 2020, a consumer posted that the Product “Leaves residue

INSIDE OF YOU… Literally every cycle i use them, i find pieces that didn’t come out when I

removed it!” Defendant responded and explained that “we normally aim to get back to every

customer within one business day across all of our platforms… I have passed your feedback

along and know it will be taken to heart.” Defendant responded to this complaint as well.



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       45.     In November of last year, another consumer reported that “They shed,” and

Defendant responded to this complaint as well.




       46.     3 months ago, a consumer posted a review that “their tampons come a part a little

which leaves a little bit of cotton in there… That is not safe!” Defendant responded to this

complaint as well.




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       47.     Another consumer reported that “they shed or pull like a cotton ball when trying

to change the tampon… a huge piece of cotton ripped off and stayed in me resulting in a visit to

the dr.” Defendant replied, “we really appreciate you alerting us of this issue so that we can

escalate this immediately to our product team and manufacturing partners to make sure this

doesn’t happen again.” Defendant responded to this complaint as well.




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           48.      On April 6, 2021, an additional consumer complained that she “went to change

one and it came apart. Left a bunch of cotton behind.” Defendant responded to this complaint as

well.




           49.      Defendant’s management also knew (or should have known) about the Defect

because of the similarity of complaints posted to Defendant’s website and elsewhere, which

Defendant’s employees monitor and respond to. The fact that so many customers made similar

complaints about the same Products indicates that the complaints were not the result of user error

or an anomalous incident, but instead a systemic problem with the Products.

           III.     The Defect Poses An Unreasonable Health Risk To Class Members

           50.      Having a tampon stuck in the vagina increases a woman’s risk of developing toxic

shock syndrome (“TSS”) a serious infection. The longer a tampon, or a piece of a tampon gets

stuck, the greater the risk.3




3
    https://www.healthline.com/health/tampon-stuck (last accessed June 29, 2021).


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          51.   That is why women that are concerned about stuck portions of tampons are

advised to seek emergency medical care, as many class members were forced to do after using

the Product.4

          IV.   A Recall Is Necessary To Protect Class Members From The Impact Of The
                Defect

          52.   A recall is needed to protect class members from the impact and dangers

stemming from the Defect in Defendant’s Products.

          53.   In 2018, one of Defendant’s competitors, Kimberly Clark, issued a full recall of

its Kotex Tampons which exhibited the same issue of “unraveling and/or coming apart upon

removal.” Unsurprisingly, the issue caused “users to seek medical attention to remove tampon

pieces left in the body,” just like the above-cited reports regarding Defendant’s Product. And

there, like here, there were “reports of infections, vaginal irritation, localized vaginal injury, and

other symptoms.”

          54.   Instead of sweeping the issue under the rug, like Defendant is doing with its

Products, Kimberly Clark issued a recall and advised consumers to not use the affected tampons.

But Kimberly Clark’s advice to refrain from using those tampons would apply equally to

Defendant’s Products, which exhibit the same Defect.

          55.   Under these circumstances, a recall is necessary for two reasons. First, as noted

above, significant health concerns are implicated by the Defendant. And second, even if

consumers do not necessarily experience documented health problems, it is still an unacceptable

expectation for consumers to need to remove broken portions of tampons from their bodies.

Simply stated, tampons which break or shed in users’ bodies are not functioning the way

tampons are intended or expected to perform.


4
    Id.


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       56.     Just as a recall was necessary to protect consumers from the affected Kotex

tampons, so too, it is necessary to protect consumers of Defendant’s Products.

                       CLASS REPRESENTATION ALLEGATIONS

       57.     Plaintiff seeks to represent a class defined as all persons in the United States who

purchased the Products (the “Class”). Excluded from the Class are persons who made such

purchases for purpose of resale.

       58.     Plaintiff also seeks to represent a subclass of all Class Members who purchased

the Products in the State of New York (the “New York Subclass”).

       59.     At this time, Plaintiff does not know the exact number of members of the

aforementioned Class and Subclass (“Class Members” and “Subclass Members,” respectively);

however, given the nature of the claims and the number of retail stores in the United States

selling Defendant’s Products, Plaintiff believes that Class and Subclass members are so

numerous that joinder of all members is impracticable.

       60.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class that

predominate over questions that may affect individual Class members include, but are not limited

to:

               (a)    Whether the Products are defective;

               (b)    Whether Defendant knew of the Products’ defective nature;

               (c)    Whether the Products are fit for their intended purpose;

               (d)    Whether Defendant has breached warranties on the Products’ packaging;

               (b)    Whether Defendant has been unjustly enriched as a result of the unlawful

                      and unfair conduct alleged in this Complaint such that it would be

                      inequitable for Defendant by Plaintiff and the Class; and

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                (c)     Whether Plaintiff and the Class have sustained damages with respect to

                        the common law claims asserted, and if so, the proper measure of their

                        damages.

        61.     With respect to the New York Subclass, additional questions of law and fact

common to the members that predominate over questions that may affect individual members

include whether Defendant violated New York G.B.L. §§ 349 & 350.

        62.     Plaintiff’s claims are typical of those of the Class because Plaintiff, like all

members of the Class, purchased, in a typical consumer setting, Defendant’s Products, and

Plaintiff sustained damages from Defendant’s wrongful conduct.

        63.     Plaintiff will fairly and adequately protect the interests of the Class and

Subclasses and has retained counsel that is experienced in litigating complex class actions.

Plaintiff has no interests which conflict with those of the Class or the Subclass.

        64.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

        65.     The prosecution of separate actions by members of the Class and the Subclass

would create a risk of establishing inconsistent rulings and/or incompatible standards of conduct

for Defendant. For example, one court might enjoin Defendant from performing the challenged

acts, whereas another might not. Additionally, individual actions could be dispositive of the

interests of the Class and the Subclass even where certain Class or Subclass members are not

parties to such actions.

                                             COUNT I
                               (Violation of New York G.B.L. §349)

        66.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.



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        67.     Plaintiff brings this claim individually and on behalf of the members of the New

York Subclass against Defendant.

        68.     By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices by making false or deceptive representations and/or material omissions

concerning the Products’ fitness for their intended use as tampons.

        69.     The foregoing deceptive acts and practices were directed at consumers.

        70.     The foregoing deceptive acts and practices are misleading in a material way

because they fundamentally misrepresent and/or omit the material characteristics of the Products

to induce consumers to purchase them.

        71.     Plaintiff and New York Subclass members were injured as a direct and proximate

result of Defendant’s violation because (a) they would not have purchased the Products on the

same terms if the true facts concerning their defective nature and dangerous propensity to

unravel and/or come apart upon removal had been known; and (b) the Products did not perform

as promised. As a result, Plaintiff and members of the New York Subclass have been damaged

either in the full amount of the purchase price of the Products or in the difference in value

between the Products as warranted and the Products as actually sold.

        72.     On behalf of herself and other members of the New York Subclass, Plaintiff seeks

to recover her actual damages or fifty dollars, whichever is greater, three times actual damages,

and reasonable attorneys’ fees.

                                            COUNT II
                              (Violation of New York G.B.L. § 350)

        73.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.




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        74.     Plaintiff brings this claim individually and on behalf of the members of the New

York Subclass against Defendant.

        75.     Based on the foregoing, Defendant has engaged in consumer-oriented conduct

that is deceptive or misleading in a material way which constitutes false advertising in violation

of Section 350 by misrepresenting that the Products are “Gynecologist-approved,” when in fact

the Products suffer from a design defect which causes them to unravel and/or come apart upon

removal, rendering the Products unsafe. Defendant has also engaged in consumer-oriented

conduct that is deceptive or misleading in a material way by omitting from consumers that the

Products are defective.

        76.     The foregoing advertising was directed at consumers and was likely to mislead a

reasonable consumer acting reasonably under the circumstances.

        77.     This misrepresentation has resulted in consumer injury or harm to the public

interest.

        78.     Plaintiff and New York Subclass members were injured as a direct and proximate

result of Defendant’s violation because (a) they would not have purchased the Products on the

same terms if the true facts concerning their defective nature and dangerous propensity to

unravel and/or come apart upon removal had been known; and (b) the Products did not perform

as promised. As a result, Plaintiff and members of the New York Subclass have been damaged

either in the full amount of the purchase price of the Products or in the difference in value

between the Products as warranted and the Products as actually sold.

        79.     On behalf of herself and other members of the New York Subclass, Plaintiff seeks

to enjoin the unlawful acts and practices described herein, to recover actual damages or five

hundred dollars per violation, whichever is greater, three times actual damages, and reasonable

attorneys’ fees.

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                                           COUNT III
                                  (Breach of Express Warranty)

          80.   Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.

          81.   Plaintiff brings this claim individually and on behalf of members of the Class and

Subclass against Defendant.

          82.   In connection with the sale of the Products, Defendant, as the designer,

manufacturer, marketer, distributor, and/or seller issued written warranties by misleadingly

representing that the Products were “Gynecologist-approved.” Reasonable consumers

understand this to mean the Products are safe for use.

          83.   In fact, the Products do not conform to the above-referenced representation

because the Products are defective and dangerous.

          84.   Plaintiff and Class members were injured as a direct and proximate result of

Defendant’s breach because (a) they would not have purchased the Products if they had known

that the Products were defective and dangerous, and (b) they overpaid for the Products on

account of their misrepresentation that they are “Gynecologist-approved.”

          85.   In accordance with UCC § 2-607, Plaintiff has provided written notice of

Defendant’s breach of warranty within a reasonable time after she discovered Defendant’s

breach.

                                          COUNT IV
                         (Breach of the Magnuson-Moss Warranty Act)

          86.   Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.

          87.   Plaintiff brings this case individually and on behalf of the members of the Class

and Subclass against Defendant.

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        88.     LOLA Tampons are consumer products as defined in 15 U.S.C. § 2301(1).

        89.     Plaintiff and Class members are consumers as defined in 15 U.S.C. § 2301(3).

        90.     Defendant is a supplier and warrantor as defined in 15 U.S.C. § 2301(4) and (5).

        91.     In connection with the sale of the Products, Defendant issued written warranties

as defined in 15 U.S.C. § 2301(6), which warranted that they were “Gynecologist-approved.”

        92.     In fact, the Products are defective and unsafe.

        93.     By reason of Defendant’s breach of warranty, Defendant violated the statutory

rights due to Plaintiff and Class members pursuant to the Magnuson-Moss Warranty Act, 15

U.S.C. §§ 2301, et seq., thereby damaging Plaintiff and Class members.

        94.     Plaintiff and Class members were injured as a direct and proximate result of

Defendant’s violation because (a) they would not have purchased the Products if they had known

that the Products were defective and dangerous, and (b) they overpaid for the Products on

account of their misrepresentation that they are “Gynecologist-approved.”

                                             COUNT V
                                              (Fraud)

        95.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.

        96.     Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

        97.     As discussed above, Defendant misleadingly represented on the Products’

packaging that they were “Gynecologist-approved.” Defendant also materially omitted from

consumers that the Products were defective and unsafe.




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        98.     The misleading representation and omissions were made with knowledge of their

falsehood. Nonetheless, Defendant continues to sell its defective and dangerous Products to

unsuspecting consumers.

        99.     The false and misleading representations and omissions were made by Defendant,

upon which Plaintiff and members of the Class reasonably and justifiably relied, and were

intended to induce and actually induced Plaintiff and members of the Class to purchase LOLA

Tampons.

        100.    The fraudulent actions of Defendant caused damage to Plaintiff and members of

the Class, who are entitled to damages and other legal and equitable relief as a result.

                                           COUNT VI
                                       (Unjust Enrichment)

        101.    Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.

        102.    Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

        103.    Plaintiff and Class Members conferred benefits on Defendant by purchasing the

Products, which were useless and worthless at the point of purchase. Defendant is aware of these

benefits.

        104.    Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiff’s and Class Members’ purchases of the Products. Retention of those moneys under

these circumstances is unjust and inequitable because Defendant knew that the Products were

unfit for use as tampons, that the Defect was substantially likely to manifest through the

customary and intended use of the Products, and that the Products were worthless at the point of

purchase. Defendant’s actions caused injuries to Plaintiff and Class Members because they



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would not have purchased the Products if the true facts were known, and because Plaintiff and

Class Members could not use already-purchased Products upon learning of the Defect.

        105.    Because Defendant’s retention of the non-gratuitous benefits conferred on them

by Plaintiff and Class Members is unjust and inequitable, Defendant must pay restitution to

Plaintiff and Class members for its unjust enrichment, as ordered by the Court.

                                          COUNT VII
                                  (Negligent Misrepresentation)

        106.    Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully

set forth herein.

        107.    Plaintiff bring this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

        108.    As discussed above, Defendant represented that the Products were

“Gynecologist-approved,” but failed to disclose that the Products are defective and dangerous.

Defendant had a duty to disclose this information.

        109.    At the time Defendant made these representations, Defendant knew or should

have known that this representation was false or made them without knowledge of their truth or

veracity.

        110.    At an absolute minimum, Defendant negligently misrepresented and/or

negligently omitted material facts about the Products.

        111.    The negligent misrepresentations and omissions made by Defendant, upon which

Plaintiff and Class members reasonably and justifiably relied, were intended to induce and

actually induced Plaintiff and Class members to purchase LOLA Tampons.

        112.    Plaintiff and Class members would not have purchased LOLA Tampons if the

true facts had been known.



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       113.    The negligent actions of Defendant caused damage to Plaintiff and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

               a.     For an order certifying the nationwide Class and the Subclass under Rule
                      23 of the Federal Rules of Civil Procedure and naming Plaintiff as
                      representative of the Class and Subclass and Plaintiff’s attorneys as Class
                      Counsel to represent the Class and Subclass Members;

               b.     For an order declaring the Defendant’s conduct violates the statutes
                      referenced herein;

               c.     For an order finding in favor of Plaintiff, the nationwide Class, and the
                      Subclass on all counts asserted herein;

               d.     For compensatory, statutory, and punitive damages in amounts to be
                      determined by the Court and/or jury;

               e.     For prejudgment interest on all amounts awarded;

               f.     For an order of restitution and all other forms of equitable monetary relief;

               g.     For an order awarding Plaintiff and the Class and Subclass their
                      reasonable attorneys’ fees and expenses and costs of suit.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury on all claims so triable in this action.




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Dated: June 30, 2021                     Respectfully submitted,


                                         By: /s/ Yitzchak Kopel _
                                                  Yitzchak Kopel

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